           Case 3:21-cv-00538-N Document 26 Filed 06/09/21                      Page 1 of 5 PageID 2683
BTXN 099 (rev. 12/14)
                                     UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Highland Capital Management, L.P.                           §    Case No.: 19−34054−sgj11
                                                            §    Chapter No.: 11
                                         Debtor(s)          §    Civil Case No.:   3:21−CV−00538−N
                                                            §
Highland Capital Management Fund Advisors, L.P., et         §
al                                                          §
                                   Appellant(s)             §
      vs.                                                   §
Highland Capital Management, L.P.                           §
                                   Appellee(s)              §
                                                            §
                                                            §
                                                            §


                 TRANSMITTAL AND CERTIFICATION OF RECORD ON APPEAL
     Pursuant to Federal Rules of Bankruptcy Procedure 8010, the appeal filed on 3/1/2021 regarding [1943] Order
confirming the fifth amended chapter 11 plan, Entered on 2/22/2021 by Highland Capital Management Fund
Advisors, L.P., et al in the above styled bankruptcy case is hereby transmitted to the U.S. District Court for the
Northern District of Texas.

    This record on appeal contains all items listed on the attached index, and is in compliance with Rule 8010 of the
Federal Rules of Bankruptcy Procedure.

     All further pleadings or inquiries regarding this matter should be directed to the U.S. District Clerk's Office until
such time as the appeal is fully processed in the U.S. District Court.

      The above referenced record was delivered to the U.S. District Clerk's Office on June 9, 2021.



DATED: 6/9/21                                    FOR THE COURT:
                                                 Robert P. Colwell, Clerk of Court

                                                 by: /s/J. Blanco, Deputy Clerk
   Case:
Case     21-10449 Doc
     19-34054-sgj11 Document: 00515847295
                      2296 Filed            Page:05/12/21
                                 05/04/21 Entered 1 Date17:12:57
                                                          Filed: 05/04/2021
                                                                    Page 1 of 4
  Case 3:21-cv-00538-N Document 26 Filed 06/09/21 Page 2 of 5 PageID 2684



                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
 ġ                     ġ                                   ġ
 LYLE W. CAYCE         ġ                                           TEL. 504-310-7700
 CLERK                 ġ                                        600 S. MAESTRI PLACE,
                       ġ                                                Suite 115
                                                               NEW ORLEANS, LA 70130

                                May 04, 2021


Mr. Jed Weintraub
U.S. Bankruptcy Court, Northern District of Texas
1100 Commerce Street
Earle Cabell Federal Building
Room 1254
Dallas, TX 75242-1496

       Misc No. 21-90011      NexPoint v. Highland Capital Mgmt
                              USDC No. 19-34054

Enclosed is a copy of the court’s order granting the motion(s) for
leave to appeal. The case is transferred to the court’s general
docket. All future inquiries should refer to docket No. 21-10449.
If there is a concurrent appeal at the district court, it is the
appellant’s   responsibility  to   advise  this  court   of  any
developments which may affect this appeal.
The appellant(s) should immediately pay the appropriate fees to
the bankruptcy court clerk ($207.00) and notify us of the payment
within 14 days from the date of this letter. If you do not, we
will dismiss the appeal, see 5th Cir. R. 42.3.
By copy of this letter, I am requesting the bankruptcy court to
send the certified record immediately.
Counsel desiring to appear in this case must electronically file
a "Form for Appearance of Counsel", naming each party you
represent, within 14 days from the date of this letter. The form
is    available     from    the    Fifth    Circuit’s     website,
www.ca5.uscourts.gov. If you fail to electronically file the form,
we will remove your name from the docket. Pro se parties do not
need to file an appearance form. Please note that appearance forms
filed in 21-90011 will be entered in the instant case. It is not
necessary to file another appearance form.
   Case:
Case     21-10449 Doc
     19-34054-sgj11 Document: 00515847295
                      2296 Filed            Page:05/12/21
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                                                                    Page 2 of 4
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                                   Sincerely,
                                   LYLE W. CAYCE, Clerk


                                   By: _________________________
                                   Charles B. Whitney, Deputy Clerk
                                   504-310-7679
Enclosure(s)
cc:
      Mr. Jeffrey N. Pomerantz
      Mr. Davor Rukavina
   Case:
Case     21-10449 Doc
     19-34054-sgj11 Document: 00515847251
                      2296 Filed            Page:05/12/21
                                 05/04/21 Entered 1 Date17:12:57
                                                          Filed: 05/04/2021
                                                                    Page 3 of 4
  Case 3:21-cv-00538-N Document 26 Filed 06/09/21 Page 4 of 5 PageID 2686




              United States Court of Appeals
                   for the Fifth Circuit                    United States Court of Appeals
                                                                     Fifth Circuit
                                ___________
                                                                   FILED
                                                                May 4, 2021
                                 No. 21-90011
                                ___________                   Lyle W. Cayce
                                                                   Clerk
      In re: Highland Capital Management, L.P.,

                                                                      Debtor,

      NexPoint Advisors, L.P.; Highland Capital Management
      Fund Advisors, L.P.; Highland Income Fund; NexPoint
      Strategic Opportunities Fund; Highland Global
      Allocation Fund; NexPoint Capital, Incorporated;
      James Dondero; The Dugaboy Investment Trust; Get
      Good Trust,

                                                                 Petitioners,

                                     versus

      Highland Capital Management, L.P.,

                                                                Respondent.
                    ______________________________

                          Motion for Leave to Appeal
                       Pursuant to 28 U.S.C. § 158(d)
                   _______________________________

      Before Dennis, Southwick, and Engelhardt, Circuit Judges.
      Per Curiam:
   Case:
Case     21-10449 Doc
     19-34054-sgj11 Document: 00515847251
                      2296 Filed            Page:05/12/21
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                                     No. 21-90011


            IT IS ORDERED that the motion of NexPoint Advisors, L.P. and
      Highland Capital Management Fund Advisors, L.P. for leave to appeal under
      28 U.S.C. § 158(d) is GRANTED.




                                          2
